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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §           CASE NO.2:10-CR-16(5) TJW-CE
                                                  §
RODNEY KIRK JENKINS                               §


              FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                   BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

administration of a plea of guilty and allocution under Rule 11 of the Federal Rules of Criminal

Procedure.

         On November 10, 2010, this cause came before the undersigned United States Magistrate

Judge for a plea of guilty and allocution of the defendant in an information charging the defendant

in Count 1 with a violation of 21 U.S.C. § 841(a)(1), possession with intent to distribute 500 grams

or more of cocaine. After conducting said proceeding in the form and manner prescribed by Fed.

R. Crim. P. 11, the Court finds:

         a.      That the defendant, after consultation with counsel of record, has knowingly and

voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

United States Magistrate Judge, subject to a final approval and imposition of sentence by the District

Court.

         b.      That the defendant and the government have entered into a plea agreement which has

been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(c)(2).

         c.      That the defendant is fully competent and capable of entering an informed plea, that
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the defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

of guilty is a knowing and voluntary plea supported by an independent basis in fact containing each

of the essential elements of the offense.

       d.         That defendant understands his constitutional and statutory rights and wishes to waive

these rights, including the right to a trial by jury and the right to appear before a United States

District Judge.

       IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

and the Guilty Plea of the defendant and that Rodney Kirk Jenkins should be finally adjudged guilty

of that offense.

       At the close of the November 10, 2010, change of plea hearing, defendant, defense counsel,

and counsel for the government stated that they waived their right to object to the proposed findings

and recommendations contained in this Report. Therefore, the Court may act on the Report and

Recommendation immediately.

      SIGNED this 12th day of November, 2010.




                                                        ___________________________________
                                                        CHARLES EVERINGHAM IV
                                                        UNITED STATES MAGISTRATE JUDGE




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